14 F.3d 595
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Lee McKENZIE, Plaintiff-Appellant,v.Mr. NELSON, Jailer of Williamsburg County;  TheodoreMcFarlin, Sheriff, Defendants-Appellees.
    No. 93-6868.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 18, 1993.Decided Jan. 5, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston, No. CA-92-1952-2-6AK;  Charles E. Simons, Jr., Senior District Judge.
      Richard Lee McKenzie, appellant pro se.
      James Albert Stuckey, Jr., Stuckey &amp; Kobrovsky, Charleston, SC, for appellees.
      D.S.C.
      AFFIRMED.
      Before PHILLIPS, NIEMEYER, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  McKenzie v. Nelson, No. CA-92-1952-2-6AK (D.S.C. July 23, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    